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 1   SANFORD L. MICHELMAN (SBN 179702)
 2   Email: smichelman@mrllp.com
     MONA Z. HANNA (SBN 131439)
 3   Email: mhanna@mrllp.com
 4   MARC R. JACOBS (SBN 185924)
     Email: mjacobs@mrllp.com
 5   TAYLOR C. FOSS (SBN 253486)
 6   Email: tfoss@mrllp.com
     MICHELMAN & ROBINSON, LLP
 7
     10880 Wilshire Blvd., 19th Floor
 8   Los Angeles, CA 90024
 9   Telephone:310-299-5500
     Facsimile: 310-299-5600
10
11   Attorneys for Plaintiff, KURT LAUK
12
13                     UNITED STATES DISTRICT COURT
14       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
15
     KURT LAUK, an individual,             Case No.:
16
                                           COMPLAINT FOR:
17                    Plaintiff,
18                                         1. INTENTIONAL INTERFERENCE
                v.                            WITH CONTRACT;
19                                         2. INTENTIONAL INTERFERENCE
                                              WITH PROSPECTIVE
20   VISTA EQUITY PARTNERS, LLC, a            ECONOMIC RELATIONS; AND
     Delaware Limited Liability Company;   3. NEGLIGENT INTERFERENCE
21   and DOES 1-50 inclusive                  WITH PROSPECTIVE
22                                            ECONOMIC RELATIONS.
                      Defendants.
23
                                           PUNITIVE DAMAGES DEMANDED
24
25
                                           DEMAND FOR JURY TRIAL
26
                                           Judge:
27                                         Dept.:
                                           Action date:
28


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                                    COMPLAINT
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 1         Plaintiff Dr. Kurt Lauk (hereinafter “Plaintiff” or “Dr. Lauk”) hereby
 2   alleges, by the undersigned attorneys, upon personal information as to himself,
 3   and upon information and belief as to all other allegations, as follows:
 4                                    THE PARTIES
 5         1.     Plaintiff Dr. Lauk served on the Board of Directors for Solera
 6   Holdings, Inc. (hereinafter “Solera Holdings”) and Solera Global Holding Corp.
 7   (hereinafter “Solera Global”). Hereinafter, Solera Holding and Solera Global are
 8
     collectively referred to as Solera, unless otherwise indicated. At all relevant
 9
     times, Dr. Lauk was and is a resident of Stuttgart, Germany.
10
           2.     Solera is a global business that provides risk management and asset
11
     protection software and services to the automotive industry and property insurance
12
     marketplace.
13
           3.     Defendant Vista Equity Partners (hereinafter, “Vista”) is an investor
14
     in Solera. Vista is headed by Chief Executive Officer, Robert Smith (“Smith”),
15
16   Chief Operating Officer, David Breech (“Breech”), and President Brian Sheth

17   (“Sheth”). Christian Sowul and Darko Dejanovic are board members of Solera

18   Global, having been appointed by Vista. On information and belief, Defendant
19   Vista is a Delaware limited liability company, registered in the State of California
20   as entity number 200014510018 and with its principal place of business at 4
21   Embarcadero Center, San Francisco, CA 94111.
22          4.    Plaintiff does not know the true names and capacities of the
23   Defendants sued herein as Does 1 through 50, inclusive, and therefore sues such
24   Defendants by such fictitious names. Plaintiff will ask leave of the court to amend
25   the complaint when the true names and capacities of such fictitious names of
26   Defendants are ascertained. Plaintiff is informed and believes and thereon alleges
27   that such fictitiously named Defendants are liable to Plaintiff for the facts and
28   circumstances herein alleged.


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 1         5.      Plaintiff is informed and believes and thereupon alleges that Does 1
 2   through 50 inclusive, are partners, co-conspirators, business partners, co-investors,
 3   and/or agents of each other, and aided and abetted each other in committing the
 4   acts complained of herein.
 5                            JURISDICTION AND VENUE
 6         6.      This Court has personal jurisdiction over Vista because Vista has
 7   extensive contacts with, and conducts business within, the State of California and
 8   in this Judicial District, including holding numerous meetings in Los Angeles,
 9   California.
10         7.      This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332.
11   Specifically, the amount in controversy exceeds $75,000 and the civil action is
12   between citizens of different states and in which a citizen of a foreign state is a
13   party. See 28 U.S.C. § 1332(a)(2)&(3).
14         8.      Venue is proper in this Court because Vista’s CEO Smith resides in
15   this Judicial District and a substantial part of the acts and events giving rise to
16   Plaintiff’s claims occurred in this District. Further, Defendant Vista and Smith
17   regularly conduct business relating to Defendant and Solera in Los Angeles,
18   California, from Smith’s homes in Los Angeles, and at locations designated by
19   Smith in Los Angeles. Further, Defendant regularly held and continues to hold
20   business meetings relating to Defendant in Los Angeles, because Smith resides in
21   Los Angeles, and as such, Vista employees regularly meet to conduct Solera,
22   Solera Holding, and Vista-related business in Los Angeles, Malibu and/or Santa
23   Monica.
24                       CLAIMS COMMON TO ALL COUNTS
25         9.      Solera Holdings (then-called, “Summertime Holdings”) was founded
26   by Anthony Aquila (“Aquila”) in January 2005.
27   ///
28


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 1         10.    On December 14, 2016, Dr. Lauk entered into a Board Member
 2   Services Agreement with Solera Holdings. Exhibit 1 hereto. In that agreement,
 3   Dr. Lauk agreed to serve as a member of the Board of Directors of Solera
 4   Holdings in exchange for compensation, including a director retainer fee and an
 5   annual director fee. Solera Holdings and Dr. Lauk modified the Board Member
 6   Services Agreement on March 22, 2017 to increase the amount of Dr. Lauk’s
 7   annual director fee. Exhibit 2 hereto. Dr. Lauk was asked to serve as a Board
 8   Member because of his extensive business experience and stellar reputation. With
 9   an M.A. in History and Theology from the Ludwig Maximilian University of
10   Munich, a Ph.D. in Political Science from the University of Kiel, and an MBA
11   from Stanford Graduate School of Business, Dr. Lauk has served, amongst other
12   examples, (a) as the Deputy Chief Executive Officer and Chief Financial Officer
13   of Audi AG, (b) as a Member of the Board of Management and Head of World
14   Wide Commercial Vehicles Division of Daimler Chrysler, (c) as a member of
15   Solera Holdings’ Audit Committee when Solera Holdings was publicly traded;
16   and (d) as a Member of the European Parliament from 2004-2009, during which
17   he was a Member of the Economic and Monetary Affairs Committee and a
18   Deputy Member of the Foreign Affairs Committee.
19         11.    Further highlighting Dr. Lauk’s ongoing prominent business
20   expertise, Dr. Lauk currently (i) sits on the Board of Directors for           Magna
21   International Inc. and is the Chairman of the Technology Committee of Magna,
22   (ii) is a Trustee of the International Institute for Strategic Studies in London, (iii)
23   is an honorary professor with a chair for international studies at the European
24   Business School in Reichartshausen, Germany; (iv) is the co-founder and current
25   President of Globe CP GmbH; and (v) is an adviser on the Economic Council to
26   German chancellor, Angela Merkel.
27   ///
28   ///


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 1            12.   Based on Dr. Lauk’s support to Solera’s founder, Tony Aquila, Dr.
 2   Lauk used his industry relationships to introduce Solera (and Tony Aquila) to
 3   numerous industry CEOs and decision makers in Brussels. As a consequence of
 4   Dr. Lauk’s support, various industry companies became customers of Solera.
 5   These customers, based on Dr. Lauk’s support, were an important reason for
 6   Solera’s overall growth and success1.
 7            13.   On June 27, 2018, Solera and Dr. Lauk entered into a Stock Option
 8   Agreement granting Dr. Lauk stock options in connection with, and as a part of,
 9   the compensation and incentive arrangements between Solera and Dr. Lauk.
10   Specifically, in that agreement, Solera granted Dr. Lauk the option to purchase up
11   to 1,538 shares of Common Stock at an exercise price per share of $1,012.97
12   (“Service Options”). See Exhibit 3 hereto.
13            14.   The Stock Option Agreement stated that Dr. Lauk’s Service Options
14   would vest and become exercisable with respect to forty percent (40%) of the
15   Service Option Shares on the Vesting Commencement Date—June 27, 2018—and
16   an additional five percent (5%) of those Service Options would vest on the last
17   day of each calendar quarter thereafter, so long as Dr. Lauk continued to be on the
18   Solera Board.
19            15.   Solera Holdings was a publicly-traded corporation. In September
20   2015, Solera Holdings announced that it would be acquired by a group led by
21   Vista in a “take-private” acquisition. On information and belief, Aquila took
22   Solera Holdings private for the purpose of being able to grow Solera Holdings,
23   based on organic growth, inorganic growth, and an I&A model, i.e. “invent and
24   acquire” (hereinafter, the “Total Growth Model”). On information and belief,
25   based on representations by Vista that they wanted to grow Solera Holdings and
26
27
     1
       Based on Vista’s strangle-hold on Solera, Dr. Lauk is no longer able to, in good-faith, endorse
28   Solera as long as Vista continues with its conduct.


                                                  5
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 1   pursue the Total Growth Model, Smith’s company, Vista, was able to acquire a
 2   controlling interest in Solera Holdings.
 3         16.    To finance the acquisition of Solera Holdings, eight funds affiliated
 4   with Vista became major stockholders of the resulting company (“Solera Global”
 5   or “Solera”) by purchasing 1.089 million shares of Company common stock
 6   (“Common Shares”) for $1.089 billion.
 7         17.    Investors, including Vista purchased millions of shares. While Vista
 8   initially promised to completely fund the equity portion of the deal with Common
 9   Share purchases, Vista failed to completely fund and fell short of funding by $1.4
10   billion because, despite its public relations campaign-spin, Vista, it turns out, did
11   not actually have the equity available to close the transaction. In fact, the closing
12   of the transaction was delayed because Vista was still trying to secure debt to
13   make up for the lack of money.
14         18.    Solera Holdings and Aquila did not know about Vista’s lack of
15   money and need to take on debt to close the transaction.
16         19.    As a result of Vista’s shortfall, Solera Global sold 0.8 million shares
17   of its Series A Preferred Stock (“A Preferred Shares”) to affiliates of Koch,
18   Goldman Sachs, and the Province of Quebec for $0.784 billion, and even worse,
19   0.4 million shares of its Series B Preferred Stock (“B Preferred Shares”) to
20   affiliates of Koch for $0.4 billion.
21         20.    Solera Holdings and Aquila never anticipated that Vista would be
22   unable to close the transaction and would, as a result, need to issue B Preferred
23   Shares. The interest rate of the B Preferred Shares created a huge complication
24   for Solera Global, specifically as to its cash flow and ability to pursue the
25   contemplated Total Growth Model.
26         21.    On March 3, 2016, the take-private acquisition was completed,
27   existing stockholders of Solera Holdings were bought out, and Solera Global
28   became a private company. In this “take-private” transaction, as described above,


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 1   Vista came to own 52% of Solera, and a controlling number of seats on Solera’s
 2   Board of Directors (hereinafter, “Solera Board” or “Board”).
 3         22.    Solera, under the majority ownership of Vista, then hired Aquila as
 4   its CEO and Chairman of the Board. On December 14, 2016, Dr. Lauk became a
 5   Board member.
 6                                   Vista’s Self-Dealing
 7         23.    Beginning on or around 2017, Vista, by and through its CEO, Smith
 8   and COO, Breech, undertook a course of action to interfere with the management
 9   of Solera and instead engaged in a pattern of self-dealing, misrepresentations, and
10   improper conduct designed to benefit Vista at the expense of Solera, and its
11   shareholders.   Vista completely disregarded corporate governance and treated
12   Solera as if Vista is the only stockholder.
13         24.    As an example of Vista’s improper conduct, Vista guided Solera
14   away from profitable acquisitions, and instead toward self-dealing acquisitions,
15   where the Solera Board members appointed by Vista (namely Smith, Sowul,
16   Breech, and Dejanovic) had self-interested profit motives (and thus conflicts of
17   interest). When Board members objected to Vista’s conduct, Vista engaged in
18   retaliatory actions against them, by oppressively using their majority shareholder
19   interests and/or control of the Board, to silence the objecting Board members,
20   shutting them out of meetings and the like.
21         25.    Once such self-interested action by Vista occurred in 2017, when the
22   Chairman of the Board, Aquila, had arranged a transaction for Solera to purchase
23   a video telematics and fleet management company named Lytx, a global leader in
24   video telematics owned by GCTR. Aquila secured a potential acquisition of Lytx
25   for $1.1 billion (hereinafter, “Lytx Purchase”). This was a great opportunity for
26   both GCTR and Solera, because of Lytx’s growth potential and the synergy
27   between the businesses of Lytx and Solera. The acquisition was, in fact, entirely
28   consistent with Solera’s Total Growth Model. Aquila, Dr. Lauk and other non-


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 1   Vista affiliated Board members knew, through their extensive diligence, that the
 2   Lytx Purchase would prove to be highly financially beneficial to Solera and its
 3   stockholders.
 4         26.    Notwithstanding the benefit to Solera and Solera’s stockholders, and
 5   even after Vista’s CEO, Smith, had initially greenlighted the Lytx Purchase, in a
 6   stunning about-face, after realizing that the Lytx Purchase would not be good for
 7   his own company, Vista, Smith and Vista’s representatives on the Board
 8   unexpectedly blocked the Lytx Purchase. In doing so, Vista’s representatives on
 9   the Solera Board falsely asserted that Lytx was only worth $800 million. Vista’s
10   excuse for blocking the transactions was contrary to Solera’s extensive diligence
11   and without any comparable diligence of their own, all in order to justify a false
12   narrative that the acquisition was “not a good deal” for Solera. Vista’s
13   representatives on the Solera Board knew or should have known that this
14   valuation was incorrect, and nonetheless, they allowed Vista to interfere with said
15   Board members’ duties and obligations owed to the Solera stockholders. In fact,
16   later, outside investors came to value Lytx at $1.7 billion, confirming the
17   intentional and negligent valuation of Lytx by Vista’s representatives on the
18   Solera Board.
19         27.    On information and belief, Vista and its Solera Board representatives
20   made their assertions regarding the value of Lytx and blocked the Lytx Purchase
21   in bad faith, for an improper and self-interested profit motive. Specifically, Vista
22   and its Solera Board representatives, blocked the Lytx purchase because they
23   wanted, instead, to force Solera to purchase one of Vista’s other failing portfolio
24   companies, Omnitracs, LLC (“Omnitracs”). Omnitracs is a competitor of Lytx,
25   offering comparable services. Vista had bought Omnitracs in 2013 for
26   approximately $800 million, and after being unable to successfully and/or
27   profitably run the company, Vista has been trying to sell Omnitracs since at least
28   June 2017. Vista and Smith were hoping to pawn off Omnitracs on Solera by


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 1   using Solera’s money to bail them out of an unsuccessful and poorly run
 2   acquisition, and bury it inside Solera’s portfolio where Vista could hide its
 3   Omnitracs-investment-mistake from its own investors.
 4         28.    The self-dealing and conflict of interest regarding the proposed
 5   Omnitracs acquisition is highlighted by the fact that both Christian Sowul and
 6   Darko Dejanovic served on the Solera Board and the board of directors of
 7   Omnitracs.
 8         29.    Board members specifically told the Solera Board that Christian
 9   Sowul should not be on both the Solera and Omnitracs boards simultaneously as
10   they were competitors with adverse interests. Board members raised concerns
11   about exposing Solera’s strategic to individual(s) tasked with directing a
12   competing company’s decisions to compete with Solera.
13         30.    While at one point it was represented that Christian Sowul was being
14   taken off the board of Omnitracs, months later it was revealed that Christian
15   Sowul had not ended his role as a board member.
16         31.    Later it was discovered that Darko Dejanovic – another Solera board
17   member appointed by Vista – likewise was concurrently serving on the board of
18   directors of Omnitracs with a similar conflict of interest.
19         32.    It is for these reasons that Vista and its Solera Board representatives
20   – all who had a direct and/or indirect financial stake and interest in Omnitracs and
21   wanted Solera to buy Omnitracs for their own personal benefit – blocked the Lytx
22   purchase and opted to pursue the Omnitracs purchase instead. Essentially, Vista
23   and its Solera Board representatives were attempting to use Solera’s financial
24   power as a “bail out” for their prior bad and underperforming Omnitracs
25   investment. The attempted Omnitracs purchase evidences an attempt by Vista and
26   its Solera Board representatives to use Solera’s financial power and wherewithal
27   for their own financial motives (for the benefit of Vista, et al.), all at Solera’s and
28   Solera’s shareholders’ expense.


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 1         33.    Plaintiff is informed and believes, and based thereon alleges, that the
 2   real reason Vista acquired its controlling interests in Solera was not to help
 3   “grow” the company, but rather, because Vista was not doing well and/or had
 4   made poor investment decisions. As such, Vista needed to take control of a
 5   successful company like Solera so that it could use Solera’s money to help bail
 6   Vista (and Smith) out of poor or underperforming investments like Omnitracs.
 7   Vista and Smith never had a “growth” plan for Solera as represented; rather, Vista
 8   and Smith had the opposite goal for Solera, namely, to use it to bleed millions of
 9   dollars their direction, and to re-direct Solera’s money to or for the benefit of
10   Vista, Smith and/or the other Vista-controlled Board members.
11         34.    Defendants have flaunted Solera’s corporate governance, treating
12   Solera like their personal piggy bank to pursue purchasing their own portfolio
13   companies using Solera’s money (because it benefitted them personally) rather
14   than other available and more appropriate or profitable business opportunities.
15   This action seeks relief on behalf of Dr. Lauk for the reprisals made against him
16   by Defendants when Dr. Lauk and the other minority shareholders of Solera,
17   attempted to reign in the majority shareholder running amok.
18         35.    Thus, and for all of the reasons set forth above, Vista and its Solera
19   Board representatives sabotaged Solera’s business objectives to acquire Lytx. The
20   missed opportunity in the Lytx deal cannot be understated. Beyond the actual loss
21   of hundreds of millions of dollars in value, the transformational aspect of the
22   acquisition in the form of synergistic benefits to Solera and its other businesses
23   would amount to hundreds of millions of additional dollars of value to Solera that
24   were lost because of Vista’s self-dealing.
25         36.    To accomplish the above, Vista and Smith represented to Vista’s
26   investors that Vista was not involved in Solera and did not operate or control
27   Solera.   However, Vista’s actions—including its meddling and self-dealing—
28   establish otherwise. Vista has been making false statements to its investors,


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 1   telling them it is “not involved” in Solera in an attempt to give their self-dealing
 2   the veneer of being an arms-length transaction when nothing could be further from
 3   the truth. Vista is misleading its own fund investors.
 4         37.    Vista’s actions appear designed to mislead current and future
 5   investors concerning Vista’s performance, and/or to cover up for Vista’s poor
 6   performance, liquidity and/or bad investment decisions – like Omnitracs. For
 7   example, Smith commonly lures investors into Vista by representing that he (i.e.,
 8   Vista) has never lost in an investment. That, however, is not truthful as Vista has
 9   been involved in investments that have lost money. For instance, one of Vista’s
10   investments had an estimated EBITDA of fifty million dollars ($50,000,000.00),
11   but ultimately was reduced to zero after Vista acquired it. Despite this fact, Smith
12   claims neither he nor Vista has ever lost money in an investment so as to lure
13   additional unsuspecting investors into Vista. Smith is hiding these losses and
14   when those that know, speak up – like Dr. Lauk – Smith tries to discredit or
15   terminate them.
16                       Smith and Vista Exceed Their Authority
17                                 and Attack Dr. Lauk
18         38.    On information and belief, Vista, under the direction of Smith and
19   Breech, oppressively used Vista’s 52% ownership in Solera and/or their control of
20   the Board to interfere with founder Aquila, dictating how he should conduct his
21   job, giving directions and “directives” to Aquila with respect to Aquila’s job
22   responsibilities as CEO for Solera, cutting off Aquila’s emails and access to
23   Solera, all to the detriment of Solera, which had enjoyed and benefited from
24   Aquila’s leadership since 2005. Ultimately, Vista oppressively used its majority
25   ownership and/or control of the Board to terminate Dr. Lauk from Solera’s Board
26   without good cause for purposes of enabling Defendants to continue to abuse
27   Solera.
28   ///


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 1           39.   Smith and Vista turned on Dr. Lauk based on their own self-
 2   interests—not because of any fault of Dr. Lauk. In fact, when other Board
 3   members asserted their own objections to Defendants’ improper, unilateral, and
 4   self-interested actions, Defendants oppressively used their majority shareholder
 5   interest to force Dr. Lauk’s termination. Specifically, when Dr. Lauk requested an
 6   investigation by a “special committee” of the Board into Vista’s alleged illegal
 7   conduct, Vista terminated him to block and otherwise prevent an investigation into
 8   Vista’s alleged illegal conduct. Defendants have orchestrated and/or caused the
 9   termination of individuals who raised objection with Defendants’ actions, to
10   silence them. From the very beginning after the “take-private” transaction, Vista
11   as the majority shareholder interfered with the “Total Growth Model” plan, and
12   instead, implemented a cost cutting strategy to obtain short term profits for itself.
13   Solera Holdings was the biggest acquisition Vista and Smith had ever made, and
14   growing Solera was something neither Vista nor Smith knew how to do, and Dr.
15   Lauk, with his extensive experience, was trying to do nothing more than help
16   them.
17           40.   Board Members, such Dr. Lauk, disagreed with Defendants’ cost
18   cutting and bleed strategy for Solera. Dr. Lauk, as a Solera board member
19   objected. Specifically, on March 31, 2019, Dr. Lauk sent a letter to the Solera
20   Board stating his objection to the way Vista has taken Solera in a direction
21   opposite from Solera’s vision. See Exhibit 4. Specifically, Dr. Lauk noted Vista’s
22   original promise during the take-private transaction:
23                 Dear Board of Directors:
24
                   As you know, I have served as an independent member
25                 of the Board of Directors since 2013. It has been my
26                 privilege to help build Solera Holdings, Inc. ("Solera")
                   into an industry leader, and in fact, create a new industry
27                 altogether. My intention to see Solera succeed is a reason
28                 why I continue to remain a member of the Board.
                   Unfortunately, in recent years, Solera has been taken into

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 1               a direction that is not consistent with its original vision. It
 2               is my hope that after reading this letter that the Board
                 will reconsider the actions it is taking with respect to the
 3               direction of Solera.
 4                                           ***
                 The foundation to this potential new partnership was
 5               Vista’s commitment and representation to Solera, its
 6               Board, and entire executive team, to support Tony’s
                 ability to capitalize on the many attractive opportunities
 7
                 for growth and value creation. In fact, Vista’s pitch, so
 8               to speak, was that after the merger was completed, Vista
 9               would deleverage Solera’s balance sheet, seek strategic
                 acquisitions for the purchase of additional data, and
10               expand Solera’s global reach.
11
                                             ***
12
                 In the beginning, it appeared that Vista was fulfilling its
13               representations to support Tony’s vision. However,
14               shortly thereafter, Vista’s support ceased, and in fact,
                 became antithetical to the very vision Solera was driving
15               to achieve.       Specifically, after the close of the
16               transaction, Vista did not deleverage Solera’s balance
                 sheet. Instead, it increased the leverage creating more
17               pressure and burdens for the company. Worse yet, Vista's
18               actions of not deleveraging the balance sheet has eroded
                 current and future value of Solera. Additionally, when
19
                 Tony sought to purchase Lytx, Vista ultimately rejected
20               the proposal based on faulty and incorrect financial
21               assumptions that damaged Solera. Instead, Vista
                 attempted to have Solera purchase one of its other
22               portfolio companies (i.e., Omnitracs), against the vote of
23               the independent members of the Board. Purchasing
                 Omnitracs would not have been in the best interests of
24
                 Solera. Rather, its acquisition favored Vista in that it
25               overvalued Omnitracs for the benefit of the Vista fund
26               investors, all to the detriment of the Solera stakeholders.
                 The Omnitracs acquisition idea was not only a direct
27               conflict of interest but highlighted that Tony's vision for
28               growth and value creation was being subordinated to the
                 financial interests of Vista. The passing of Lytx in favor

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 1               of Omnitracs damaged Solera by approximately $1
 2               billion in value creation. This is not the only situation in
                 which Vista pressured Solera to acquire underperforming
 3               assets owned by Vista. Another example of this pressure
 4               is when Vista pushed Solera to acquire DealerSocket, a
                 company which by most accounts has been struggling to
 5               succeed.
 6
                                            ***
 7
 8               As an independent Board member, I am obligated to raise
 9               my objection to Vista's approach. Specifically, Tony's
                 vision is to grow Solera and create additional value and
10               that was the reason he was hired to serve as CEO and
11               President. Vista has materially changed Solera's vision
                 into one of reducing headcount, cutting costs, and
12
                 shrinking aspects of Solera for the purpose of improving
13               EBITDA in the short run. The reason Vista appears to be
14               materially changing Solera's direction is because of
                 Vista's failed strategy to purchase other Vista portfolio
15               companies and lack of financial support for Solera's real
16               growth.
17                                          ***
18               I would welcome the opportunity to create a committee
                 of the Board that is comprised of independent members
19
                 to explore a strategic plan that does not deviate from the
20               original vision, and reviews whether there are ways to
21               reduce costs that are not going to impact a growth
                 strategy.
22
23   See Exhibit 4.
24
           41.   In response, Vista refused to create a committee of independent
25
     Board Members. Thereafter, on May 26, 2019, Dr. Lauk wrote a letter to Vista’s
26
     COO, Breech (Exhibit 5 hereto), stating:
27
                 It appears that Vista Equity Partners ("Vista") believes it
28               can violate the corporate governance protocols of Solera
                 Holdings, Inc. ("Solera") and its affiliates, among other

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 1                things. As you know, I have been objecting to Vista's
 2                inappropriate conduct and so too have other executives.
                  In response, Vista has engaged in a pattern and practice
 3                of retaliatory actions against those that raise concerns.
 4                Vista's actions have included, but are not limited to,
                  interfering with employees' contracts, modifying their job
 5                responsibilities, and pressuring them into making false
 6                and defamatory statements to support Vista's wrongful
                  conduct. I must note that Vista has no position in Solera
 7
                  other than in its passive capacity as a shareholder. Yet,
 8                Vista is interfering in Solera's business by acting as if
 9                Solera employees are Vista employees, and worse yet, as
                  if you are the CEO of Solera. Vista's conduct is simply
10                unacceptable and must cease its inappropriate conduct.
11
                  As a member of Solera's Board of Directors, I am
12
                  obligated to raise concerns about the exposure, and in
13                turn, damages that Vista is causing. Despite Vista's
14                unilateral proclamation that no special committee will be
                  formed, as set forth in your letter, it is not Vista's
15                decision. Rather, the decision to create a special
16                committee to investigate Vista's actions is decided by the
                  non-conflicted members of Solera's Board of Directors.
17                At this stage, I would request that the non-conflicted
18                Directors of Solera support my request to create an
                  independent special committee to investigate Vista's
19
                  actions (those non-conflicted Directors are copied on this
20                message). The investigation should be conducted by an
21                independent law firm selected by the special committee.
                  If Vista takes actions to prevent an independent
22                investigation that too will only be used later as evidence
23                of Vista's wrongdoing.
24
     Exhibit 5 hereto.
25
26         42.    In response, on the very same day, Vista forced Solera into
27   terminating Dr. Lauk’s Board position so as to silence another objector. In fact,
28   Vista wrongfully removed Dr. Lauk from his position as a Board member, without


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 1   holding a proper or valid Board meeting to conduct the vote to remove Dr. Lauk.
 2   Furthermore, Solera’s Termination Letter did not identify any cause for Dr.
 3   Lauk’s termination.
 4         43.    On August 9, 2019, Dr. Lauk sent a letter to Solera and Solera
 5   Holdings regarding the Stock Option Agreement dated June 27, 2018 between
 6   Solera Holdings and Dr. Lauk. In that letter, Dr. Lauk provided notice that he was
 7   exercising all Vested Options under the Stock Option Agreement—and that he
 8   was exercising those options. Specifically, Dr. Lauk was granted options to
 9   purchase 1,538 shares of Solera Holdings at an exercise price of $1,012.97. See,
10   Exhibit 6 hereto.
11         44.    Section (2)(e)(ii) of the Stock Option Agreement allows for the
12   cashless exercise of stock options as follows:
13         Optionholder may, in lieu of paying the Aggregate Exercise Price in
14         cash, indicate in Optionholder's exercise notice that such Optionholder
           intends to effect a cashless exercise thereof and, in such case, the
15         Company shall cancel such number of Option Shares otherwise
16         issuable to the Optionholder having a Fair Market Value equal to the
           Aggregate Exercise Price of the Options being exercised, in which
17
           event the Company shall only issue Option Shares for the remainder
18         of the Options being exercised after satisfying the Aggregate Exercise
19         Price
20         45.    Based on the Stock Option Agreement, 80% of Dr. Lauk’s options
21   had vested. Specifically, Dr. Lauk asserted that per the Stock Option Agreement:
22   40% of the options vested on the vesting commencement date of June 27, 2018;
23   5% vested on the last day of each calendar quarter thereafter (totally 20%) until
24   his termination without cause on May 26, 2019; and an additional 20% vested
25   pursuant to Section 2(c)(iv)(A) of the Stock Option Agreement based on his
26   termination without cause.
27         46.    At the time of Dr. Lauk’s letter, the fair market value of Solera
28   Holdings stock underlying the vested options was $1,367.58 per share.


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 1         47.   On August 26, 2019, counsel for Solera and Solera Holdings sent a
 2   letter to counsel for Dr. Lauk stating that Dr. Lauk was incorrect about 20% of his
 3   options vesting on his Termination Date because there was no qualifying
 4   termination. See Exhibit 7 hereto. Additionally, counsel for Solera and Solera
 5   Holdings asserted that all Contingent Options (if any) expired upon Mr. Lauk’s
 6   removal from the Board of Directors.
 7         48.   The August 26, 2019 letter from counsel for Solera and Solera
 8   Holdings did not state any basis as to why Dr. Lauk’s termination was not a
 9   “qualifying” termination. See Exhibit 7 hereto.
10         49.   Section 2(c)(iv)(A) of the Stock Option Agreement, entitled “Service
11   Options” states:
12
           Notwithstanding anything herein to the contrary, in the event that
13         Optionholder's employment with the Company or its Subsidiaries
14         terminates due to Optionholder’s termination without Cause,
           Optionholder's resignation for Good Reason or Optionholder's death
15
           or Disability (each such termination, a "Qualifying Termination"), the
16         Service Options that would have vested during the twelve months
17         immediately following the Termination Date had the Optionholder
           remained employed by the Company or its Subsidiaries during such
18         period shall vest as of such Termination Date.
19
           50.   The term “cause” for purposes of the Stock Option Agreement is
20
     defined as follows:
21
22         “Cause” shall have the meaning ascribed to such term in any written
           offer letter or employment or severance agreement between the
23
           Company or any Subsidiary of the Company and such Participant, or
24         in the absence of any such written agreement, shall mean (i) the
25         commission of a felony or any other act or omission involving
           dishonesty, disloyalty or fraud with respect to the Company or any of
26         its Subsidiaries or any of their customers or suppliers if the act or
27         omission was wrongful or deliberate, or any other crime involving
           moral turpitude, (ii) conduct tending to bring the Company or any of
28
           its Subsidiaries into public disgrace or disrepute or economic harm,


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 1         (iii) repeated material failure or inability to perform duties and/or
 2         obligations as reasonably directed by the Board or its designees, after
           demand for performance has been given by the Board or its designees
 3         that identifies how such Participant has not performed its duties and/or
 4         obligations, (iv) gross negligence or misconduct with respect to the
           Company or any of its Subsidiaries, (v) any material breach of (A)
 5         any written agreement between the Company and such Participant
 6         evidencing the grant of any Option (B) the Company's written code of
           conduct and business ethics or (C) any other written agreement
 7
           between such Participant and the Company or any Subsidiary of the
 8         Company.
 9
10         51.    Dr. Lauk never resigned and is not deceased, such that the only
11   qualifying termination at issue here is termination without cause.
12                             FIRST CAUSE OF ACTION
13                 Intentional Interference with Contractual Relations
14                           (Against Vista and DOES 1 - 50)
15         52.    Plaintiff re-alleges and incorporates by reference each of the
16   numerical paragraphs both above and below as if fully set forth herein.
17         53.    Valid contracts existed between Solera and Dr. Lauk, namely in the
18   form of (1) the Stock Option Agreement, dated June 27, 2018, and (2) the Board
19   Member Services Agreement, dated December 14, 2016. Defendants were fully
20   aware that Dr. Lauk had such contracts with Solera, and of the terms thereof.
21         54.    Defendants interfered with those contracts by engaging in the
22   conduct alleged hereinabove, including but not limited to the following wrongful
23   acts of interference by Defendants: (a) conspiring and orchestrating false grounds
24   to justify the termination of Dr. Lauk (b) refusing payment of the Service Options
25   that vested based on Solera’s termination of Dr. Lauk without cause.
26         55.    Defendants undertook the intentional acts as alleged herein above to
27   disrupt the contractual relationships between Solera and Dr. Lauk. Defendants
28   intentionally interfered with Dr. Lauk’s contracts with Solera, amongst other


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 1   reasons, in order to block Dr. Lauk’s efforts to stop Defendants from misguiding
 2   and misusing Solera as a personal piggy bank to fund Defendants’ self-interested
 3   acquisitions of Defendants’ own portfolio companies and interests. As Board
 4   members like Dr. Lauk, raised objections to Defendants’ exploitation of Solera
 5   and cost-cutting model for Solera, Defendants retaliated by fabricating and
 6   actively orchestrating grounds to justify Solera’s termination of Dr. Lauk, all to
 7   privately enrich themselves and/or to facilitate their self-interested strategy for
 8   Solera.
 9         56.    Simply put, Defendants did all of this because they wanted Dr. Lauk
10   out of the way so they could continue to bleed Solera and use Solera’s funds to
11   purchase Vista’s portfolio companies at exorbitant, above market prices – rather
12   than other available and better investment opportunities – all to the direct benefit
13   of Smith, Vista and Vista’s investors or shareholders, and to Solera’s detriment.
14   So that Defendants could continue to get away with their wrongful conduct,
15   Defendants undertook actions to eliminate the objectors and opposition to their
16   actions, like Aquila and Dr. Lauk, by interfering with their contracts, setting them
17   up, and causing their termination from Solera.
18         57.    Defendants’ wrongful actions have resulted in actual disruption of the
19   contractual relationships alleged hereinabove, as Dr. Lauk has been terminated
20   from Solera, allegedly for “cause” as written in Solera’s May 26, 2019 termination
21   letter drafted, written, directed and/or orchestrated by Defendants.
22         58.    By interfering with Dr. Lauk’s contracts with Solera, Defendants
23   blocked Dr. Lauk from the benefits thereof. Dr. Lauk has suffered and stands to
24   suffer substantial harm resulting from the disruption of these contractual
25   relationships, loss of the remuneration and other economics as set forth in the
26   agreements, all in an amount in excess of the minimum jurisdiction of this court.
27         59.    Defendants’ conduct was undertaken with malice, oppression and/or
28   fraud, and was willfully, maliciously and oppressively committed with the


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 1   intention of causing Dr. Lauk to suffer extreme harm, warranting the imposition of
 2   punitive damages against Defendants for the reasons set forth herein. Dr. Lauk
 3   thus seeks punitive damages against Defendants for their willful and wanton and
 4   malicious behavior by interfering with Dr. Lauk’s contracts with Solera.
 5                            SECOND CAUSE OF ACTION
 6          Intentional Interference with Prospective Contractual Relations
 7                            (Against Vista and DOES 1 -50)
 8         60.    Plaintiff re-alleges and incorporates by reference each of the
 9   numerical paragraphs both above and below as if fully set forth herein.
10         61.    Valid contracts existed between Solera and Dr. Lauk, namely in the
11   form of (1) the Stock Option Agreement, dated June 27, 2018, and (2) the Board
12   Member Services Agreement, dated December 14, 2016. But for Defendants’
13   aforementioned conduct, these contracts would have resulted in economic benefits
14   to Plaintiff in the form of a director retainer fee and annual director fee, and stock
15   options which increased in number and grew over time.
16         62.    Defendants were fully aware that Dr. Lauk had such contracts with
17   Solera, and of the terms thereof.
18         63.    Defendants interfered with those contracts by engaging in the
19   conduct alleged hereinabove, including but not limited to the following wrongful
20   acts of interference by Defendants: (a) conspiring and orchestrating false grounds
21   to justify the termination of Dr. Lauk, depriving Dr. Lauk of future, ongoing
22   director fees, (b) depriving Dr. Lauk of the Service Options that were to vest and
23   the value of their grown over the period of time Defendants deprived Dr. Lauk
24   from accruing by virtue of orchestrating false grounds for his termination.
25         64.    Defendants undertook the intentional acts as alleged herein above to
26   disrupt the contractual relationships between Solera and Dr. Lauk, fully aware that
27   disruption was certain or substantially certain to occur in both of Dr. Lauk’s
28   contractual relationships with Solera. Defendants intentionally interfered with Dr.


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 1   Lauk’s contracts with Solera, amongst other reasons, in order to block Dr. Lauk’s
 2   efforts to stop Defendants from misguiding and misusing Solera as a personal
 3   piggy bank to fund Defendants’ self-interested acquisitions of Defendants’ own
 4   portfolio companies and interests.       As Board members like Dr. Lauk, raised
 5   objections to Defendants’ exploitation of Solera and cost-cutting model for Solera,
 6   Defendants retaliated by fabricating and actively orchestrating grounds to justify
 7   Solera’s termination of Dr. Lauk, all to privately enrich themselves and/or to
 8   facilitate their self-interested strategy for Solera.
 9          65.    Simply put, Defendants did all of this because they wanted Dr. Lauk
10   out of the way so they could continue to bleed Solera and use Solera’s funds to
11   purchase Vista’s portfolio companies at exorbitant, above market prices – rather
12   than other available and better investment opportunities – all to the direct benefit
13   of Smith, Vista and Vista’s investors or shareholders, and to Solera’s detriment.
14   So that Defendants could continue to get away with their wrongful conduct,
15   Defendants undertook actions to eliminate the objectors and opposition to their
16   actions, like Aquila and Dr. Lauk, by interfering with their contracts, setting them
17   up, and causing their termination from Solera.
18          66.    Defendants’ wrongful actions have resulted in actual disruption of the
19   contractual relationships alleged hereinabove, as Dr. Lauk has been terminated
20   from Solera, allegedly for “cause” as written in Solera’s May 26, 2019 termination
21   letter drafted, written, directed and/or orchestrated by Defendants.
22          67.    By interfering with Dr. Lauk’s contracts with Solera, Defendants
23   blocked Dr. Lauk from the prospective benefits thereof. Dr. Lauk has suffered and
24   stands to suffer substantial harm resulting from the disruption of these contractual
25   relationships, loss of the prospective remuneration, prospective director fees and
26   other prospective economic benefits flowing from the loss of the prospectively
27   accrued Options which Defendants deprived Dr. Lauk of as he was or would have
28   ///


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 1   been entitled to as set forth in the agreements, all in an amount in excess of the
 2   minimum jurisdiction of this court.
 3         68.    Defendants’ conduct was undertaken with malice, oppression and/or
 4   fraud, and was willfully, maliciously and oppressively committed with the
 5   intention of causing Dr. Lauk to suffer extreme harm, warranting the imposition of
 6   punitive damages against Defendants for the reasons set forth herein. Dr. Lauk
 7   thus seeks punitive damages against Defendants for their willful and wanton and
 8   malicious behavior by interfering with Dr. Lauk’s contracts with Solera.
 9                             THIRD CAUSE OF ACTION
10           Negligent Interference with Prospective Contractual Relations
11                            (Against Vista and DOES 1 -50)
12         69.    Plaintiff re-alleges and incorporates by reference each of the
13   numerical paragraphs both above and below as if fully set forth herein.
14         70.    Valid contracts existed between Solera and Dr. Lauk, namely in the
15   form of (1) the Stock Option Agreement, dated June 27, 2018, and (2) the Board
16   Member Services Agreement, dated December 14, 2016. But for Defendants’
17   aforementioned conduct, these contracts would have resulted in economic benefits
18   to Plaintiff in the form of a director retainer fee and annual director fee, and stock
19   options which increased in number and grew over time.
20         71.    Defendants knew and/or should have known that Dr. Lauk had such
21   contracts with Solera, and of the terms thereof, because Vista was Solera’s
22   majority shareholder and controlled Solera’s board of directors, which knew about
23   and entered into the contracts with Dr. Lauk.
24         72.    Defendants interfered with those contracts by engaging in the
25   conduct alleged hereinabove, including but not limited to the following wrongful
26   acts of interference by Defendants: (a) conspiring and orchestrating false grounds
27   to justify the termination of Dr. Lauk, depriving Dr. Lauk of future, ongoing
28   director fees, (b) depriving Dr. Lauk of the Service Options that were to vest and


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 1   the value of their grown over the period of time Defendants deprived Dr. Lauk
 2   from accruing by virtue of orchestrating false grounds for his termination.
 3         73.    Defendants knew or should have known that disruption of Dr. Lauk’s
 4   contractual relationships, and the resulting prospective economic benefits
 5   thereunder due Dr. Lauk, was certain or substantially certain to occur based on
 6   their conduct as alleged herein above. Defendants interfered with Dr. Lauk’s
 7   contracts with Solera, amongst other reasons, in order to block Dr. Lauk’s efforts
 8   to stop Defendants from misguiding and misusing Solera as a personal piggy bank
 9   to fund Defendants’ self-interested acquisitions of Defendants’ own portfolio
10   companies and interests. As Board members like Dr. Lauk, raised objections to
11   Defendants’ exploitation of Solera and cost-cutting model for Solera, Defendants
12   retaliated by fabricating and actively orchestrating grounds to justify Solera’s
13   termination of Dr. Lauk, all to privately enrich themselves and/or to facilitate their
14   self-interested strategy for Solera.
15         74.    Simply put, Defendants did all of this because they wanted Dr. Lauk
16   out of the way so they could continue to bleed Solera and use Solera’s funds to
17   purchase Vista’s portfolio companies at exorbitant, above market prices – rather
18   than other available and better investment opportunities – all to the direct benefit
19   of Smith, Vista and Vista’s investors or shareholders, and to Solera’s detriment.
20   So that Defendants could continue to get away with their wrongful conduct,
21   Defendants undertook actions to eliminate the objectors and opposition to their
22   actions, like Aquila and Dr. Lauk, by interfering with their contracts, setting them
23   up, and causing their termination from Solera.
24         75.    Defendants’ wrongful actions have resulted in actual disruption of the
25   contractual relationships alleged hereinabove, as Dr. Lauk has been terminated
26   from Solera, allegedly for “cause” as written in Solera’s May 26, 2019 termination
27   letter drafted, written, directed and/or orchestrated by Defendants.
28   ///


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 1         76.    By interfering with Dr. Lauk’s contracts with Solera, Defendants
 2   blocked Dr. Lauk from the prospective benefits thereof. Dr. Lauk has suffered and
 3   stands to suffer substantial harm resulting from the disruption of these contractual
 4   relationships, loss of the prospective remuneration, prospective director fees and
 5   other prospective economic benefits flowing from the loss of the prospectively
 6   accrued Options which Defendants deprived Dr. Lauk of as he was or would have
 7   been entitled to as set forth in the agreements.
 8         77.    Defendants’ conduct as alleged herein above, was a substantial factor
 9   in causing Plaintiff’s harm and the loss of prospective economic benefits under the
10   contracts.
11         78.    Plaintiff has been damaged in amount in excess of this Court’s
12   minimum jurisdiction, to be proven at the time of trial.
13
14                                PRAYER FOR RELIEF
15         WHEREFORE, Plaintiff prays for Judgment against Defendants as
16   follows:
17         1.     Compensatory damages in excess of the jurisdictional minimum of
18                this Court;
19         2.     Punitive damages;
20         3.     Interest at the legal rate per annum;
21         4.     All costs of suit; and
22         5.     Such other and further relief as this Court deems just and proper.
23
24                              DEMAND FOR JURY TRIAL
25         Plaintiff hereby demands a trial by jury on all causes of actions.
26   ///
27   ///
28   ///


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 1                      DEMAND FOR PUNITIVE DAMAGES
 2         Plaintiff hereby demands punitive damages against Defendants on his
 3   claims as alleged hereinabove.
 4
 5                                          MICHELMAN & ROBINSON, LLP
 6
 7
 8   Dated: September 11, 2019        By:
 9                                          Sanford L. Michelman
                                            Mona Z. Hanna
10
                                            Marc R. Jacobs
11                                          Taylor C. Foss
12                                          Attorneys for Plaintiff Dr. Kurt Lauk

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